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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                     FT. LAUDERDALE DIVISION


      LIQUIVITA, LLC,

                     Plaintiff,
                                                          Case No. 19-cv-61659-WPD
               v.

      NEOLIFE INTERNATIONAL, LLC

                     Defendant.
                                                      /

                    Defendant NeoLife International’s Motion to Stay Discovery

           Pursuant to Fed. R. Civ. P. 26(c) and the Court’s inherent power to control its docket,

  Defendant NeoLife International moves for an order: (1) confirming that NeoLife’s motion to

  dismiss did not trigger the requirement that the parties confer regarding the joint scheduling report,

  and (2) staying discovery pending resolution of NeoLife’s motion to dismiss Plaintiff’s amended

  complaint for lack of personal jurisdiction and lack of subject matter jurisdiction.

                                             Introduction

           Plaintiff Liquivita’s amended complaint asserts two claims.1 The first is an appeal under

  15 U.S.C. § 1071(b)(1) from a decision of the Trademark Trial and Appeal Board (“TTAB”) [D.E.

  13 ¶¶ 49-53]. The second is a declaratory judgment action seeking a declaration that it does not

  infringe NeoLife’s trademark [id. ¶¶ 54-57].



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   Liquivita’s original complaint asserted the same causes of action. NeoLife moved to dismiss the
  complaint for lack of personal jurisdiction and lack of subject-matter jurisdiction [DE 12]. As
  NeoLife was finalizing this motion to stay, Plaintiff Liquivita filed an amended complaint [DE 13]
  adding some allegations, but asserting the same claims. Amending the complaint temporarily
  mooted NeoLife’s motion to dismiss. However, NeoLife will soon file an updated motion to
  dismiss explaining that Liquivita’s amended allegations do not solve the lack of personal and
  subject matter jurisdiction.


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           Defendant NeoLife moved to dismiss [D.E. 12] the original complaint for two reasons, and

  the same deficiencies apply to the amended complaint. First, this Court lacks personal jurisdiction

  over NeoLife, a Nevada entity headquartered in California. NeoLife’s limited contacts in Florida

  do not merit an exception to the general rule under recent Supreme Court caselaw that general

  personal jurisdiction over an entity exists only in that entity's state of incorporation and the state

  of its principal place of business. There is also no specific personal jurisdiction here because none

  of NeoLife’s alleged activities in Florida, including those alleged in the amended complaint, gave

  rise to either claim.

           Second, this Court lacks subject matter jurisdiction over Plaintiff’s declaratory judgement

  claim because Plaintiff did not allege any action by NeoLife that establishes a ripe case and

  controversy regarding whether Plaintiff infringes NeoLife’s trademark. Even in the amended

  complaint, Plaintiff Liquivita does not allege that NeoLife has ever threatened Liquivita with suit,

  sent NeoLife a cease and desist letter, or even accused Liquivita of engaging in trademark

  infringement.    Liquivita’s allegations regarding NeoLife filing papers opposing Liquivita’s

  registration of Liquivita’s trademark at the Patent and Trademark Office is insufficient.

           After NeoLife filed its motion to dismiss, Liquivita contacted NeoLife to meet and confer

  regarding a joint scheduling report, asserting that the parties were required to do so by the July 11

  Order Requiring Counsel To Meet, File Joint Scheduling Report And Joint Discovery Report [D.E.

  7] (“July 11 Order”). That order only requires the parties to confer regarding the joint scheduling

  report “after the filing of the first responsive pleading” by NeoLife. As explained below,

  NeoLife’s motion to dismiss is not a “responsive pleading” under the Federal Rules; thus, the

  requirement to confer on the joint scheduling report has not yet been triggered. In any event, in

  light of the fatal jurisdictional issues raised in NeoLife’s motion to dismiss the complaint (and that



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  will shortly be re-raised in a motion to dismiss the amended complaint), a stay of discovery is

  warranted. Liquivita, however, disagrees. Accordingly, NeoLife respectfully requests this Court

  to confirm that NeoLife’s motion to dismiss did not trigger the requirement that the parties confer

  regarding the joint scheduling report and/or to stay discovery until the Court rules on NeoLife’s

  forthcoming renewed motion to dismiss.


                                               Argument

  I.       NeoLife’s Motion to Dismiss is Not A Responsive Pleading And Thus Did Not Trigger
           the Requirement for the Parties to Confer On A Joint Scheduling Report

           The July 11 Order requires certain actions, including conferral on a joint scheduling report,

  “after the filing of the first responsive pleading by the last responding defendant.” However, under

  Rule 12 of the Federal Rules of Civil Procedure and prior precedent of this Court, NeoLife’s

  motion to dismiss for lack of personal jurisdiction and subject-matter jurisdiction is not a

  “responsive pleading.”

           Rule 12(a)(1) of the Federal Rules of Civil Procedure sets forth “the time for serving a

  responsive pleading.” Rule 12(a)(4) then states that “serving a motion under this rule alters these

  periods as follows: (a) if the court denied the motion or postpones its depositions until trial, the

  responsive pleading must be served within 14 days after notice of the court’s action; …” Because

  filing a Rule 12 motion (which includes motions to dismiss for lack of subject-matter jurisdiction

  and lack of personal jurisdiction) postpones the deadline for serving the “responsive pleading”

  until after the ruling on the motion, plainly the motion is not itself the “responsive pleading.” This

  also follows from Rule 12(b), which states that a “motion asserting any of these defenses must be

  made before pleading if a responsive pleading is allowed.” (emphases added)

           This Court has recognized that a motion to dismiss is not a responsive pleading, and thus

  does not trigger events to take place after a responsive pleading has been filed. Maale v. Caicos

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  Beach Club Charter, Ltd., No. 08-80131-CIV, 2008 WL 11333701 (S.D. Fla. Dec. 8, 2008). In

  Maale, “Defendants [had] pending Motions to Dismiss the Amended Complaint before Judge

  Dimitrouleas. As a result, no responsive pleading [had] been filed.” 2008 WL 11333701, at *2

  (emphasis added). The Court explained further:

           In light of the pending Motions to Dismiss and the Initial Discovery Order’s express
           requirement that the meet and conferral regarding discovery occur after the “first
           responsive pleading by the last responding defendant,” at this time, no meet and
           conferral of Defendants and Plaintiffs is necessarily required.

  Id. at *3; see also Fortner v. Thomas, 983 F.2d 1024 (11th Cir. 1993) (“It is well established in

  this circuit that a motion to dismiss is not considered a responsive pleading for purposes of rule

  15(a)”).

           Accordingly, because NeoLife’s motion to dismiss was not a responsive pleading, NeoLife

  respectfully requests the Court to confirm that the July 11 Order’s requirement for the parties to

  confer regarding a joint scheduling report “after the filing of the first responsive pleading” has not

  yet been triggered.


  II.      The Court Should Stay Discovery Pending a Decision on NeoLife’s Forthcoming
           Motion to Dismiss The Amended Complaint

           A.     Discovery Should Be Stayed

           The significant burden of discovery should not be imposed upon NeoLife if the Court has

  no personal jurisdiction over it. Although Liquivita filed an amended complaint hours before this

  motion was filed, temporarily mooting NeoLife’s motion to dismiss, NeoLife will shortly renew

  its motion in connection with the amended complaint on the same jurisdictional grounds.

           District courts have broad discretion to stay discovery for “good cause shown,” Fed. R.

  Civ. P. 26(c), and have a “responsibility to manage the discovery process in a manner that avoids

  abuse of the process and prejudice to the parties.” Staup v. Wachovia Bank, N.A., No. 08-60359,


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  2008 WL 1771818, at *1 (S.D. Fla. 2008) (citing Chudasama v. Mazda Motor Corporation, 123

  F.3d 1353, 1353 (11th Cir. 1997)). To that end, district courts are empowered by Fed. R. Civ. P.

  26(c) to stay discovery pending resolution of a motion to dismiss that, if granted, “will dispose of

  the entire case.” McCabe v. Foley, 233 F.R.D. 683, 685 (M.D. Fla. 2006) (staying discovery

  pending resolution of motion to dismiss).2

           As the Eleventh Circuit has explained, “[f]acial challenges to the legal sufficiency of a

  claim … should … be resolved before discovery begins.” Chudasama, 123 F. 3d at 1367. Indeed,

  permitting discovery to proceed on a potentially invalid claim would “encourage[] abusive

  discovery and, if the court ultimately dismisses the claim, impose[] unnecessary costs.” Id. at 1368.

  Thus, any “legally unsupported claim that would unduly enlarge the scope of discovery should be

  eliminated before the discovery stage, if possible.” Id.

           In deciding whether a stay of discovery pending resolution of a pending motion is

  appropriate, “the Court inevitably must balance the harm produced by a delay in discovery against

  the possibility that the motion will be granted and entirely eliminate the need for such discovery.”

  Ameritox, Ltd. v. Millennium Labs. Inc., No. 11-775-T-24-TBM, 2012 WL 1758144, at *2 (M.D.

  Fla. May 16, 2012) (staying discovery pending resolution of dispositive motion upon showing of

  good cause). In so doing, “the Court must take a preliminary peek at the merits of a dispositive

  motion to see if it appears to be clearly meritorious and truly case dispositive.” McCabe, 233

  F.R.D. at 685 (citation and internal quotation marks omitted).

           A stay of discovery is amply warranted under these standards.




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    See also Moore v. Potter, 141 Fed. Appx. 803 (11th Cir. 2005) (affirming stay of discovery
  pending resolution of motion to dismiss); Horsley v. Feldt, 304 F.3d 1125, 1131 n.2 (11th Cir.
  2002) (no error in suspending discovery because “there was no need for discovery before the
  district court ruled on [dispositive] motions”).

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           B.     NeoLife’s Motion to Dismiss is Meritorious and Case Dispositive

           The required “preliminary peek” at NeoLife’s bases for dismissal reveals that NeoLife’s

  motion to dismiss is meritorious and case dispositive.

           First, as set forth above, NeoLife is not subject to personal jurisdiction in Florida. As this

  Court has recognized, recent Supreme Court cases have made a “dramatic change in the personal

  jurisdiction landscape.” Thompson v. Carnival Corp., 174 F. Supp. 3d 1327, 1334 (S.D. Fla.

  2016). General personal jurisdiction will normally be found over an entity in only two states: “its

  place of incorporation and its principle place of business.” Daimler AG v. Bauman, 571 U.S. 117,

  137 (2014). To support general personal jurisdiction in any other state, operations in that forum

  must be “so substantial and of such a nature as to render the corporation at home in that State.” Id.

  at 137 n.19. The allegations in the amended complaint, such as that “a consumer residing in the

  Southern District of Florida” purchased goods from NeoLife’s website and that NeoLife “sells its

  products to independent contractors, including some in Florida, who then sell the products to end

  consumers,” do not come close to meeting this high standard. See ECF No. 13 ¶¶ 22-23;

  Thompson, 174 F. Supp. 3d at 1334 (a finding that a corporation is “at home” in a state that is

  neither its place of incorporation nor is principal place of business will occur only in “‘exceptional’

  cases.”)

           With respect to specific personal jurisdiction, Plaintiff’s first cause of action is an appeal

  pursuant to 15 U.S.C. § 1071(b)(1) of a decision in a Trademark Trial and Appeal Board (“TTAB”)

  opposition proceeding refusing to register Plaintiff’s trademark. Such claims arise where the

  opposer in the TTAB opposition proceeding (here, NeoLife) is located, which is California, not

  Florida. E.g., Rieke Corp. v. Am. Flange & Mfg. Co., No. 67-cv-275, 2007 WL 1724897, *3 (N.D.

  Ind. June 12, 2007); E. & J. Gallo Winery v. Candelmo, 192 U.S.P.Q. 210, 211-12 (D.D.C. 1976).



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           Plaintiff’s second cause of action is for a declaratory judgment that it is not infringing

  NeoLife’s trademark. In the original complaint, Plaintiff did not make any factual allegations

  relating to specific personal jurisdiction for this claim. Notably, in the Amended Complaint,

  Plaintiff alleges that “Defendant made statements and representations throughout the [TTAB]

  proceedings that form the basis of Plaintiff’s reasonable apprehension that it will be sued for

  trademark infringement if it continues to use the LIQUIVIDA LOUNGE Mark.” ECF No. 13 ¶ 36.

  The TTAB proceedings, and the statements made in them, took place before the TTAB at the U.S.

  Patent and Trademark Office, not in Florida. Even as alleged by Plaintiff, any contacts by NeoLife

  with Florida are tangential and de minimus. Plaintiff’s second of action does not concern alleged

  contacts by NeoLife with Florida.

           In addition, because Plaintiff has failed to allege a sufficient basis for reasonable

  apprehension of being sued by NeoLife for trademark infringement, such as threat of suit or a

  cease and desist letter, Plaintiff’s declaratory judgment count must also be dismissed for not

  pertaining to a ripe case or controversy. That is a fatal defect in subject-matter jurisdiction.

           Because NeoLife’s grounds for dismissing the complaint are both meritorious and case

  dispositive, good cause is present for staying discovery. See Textile USA, Inc. v. Diageo North

  America, Inc., No. 15-24309, 2016 WL 11317301, *1 (S.D. Fla., Jun. 8, 2016). Such a stay is

  particularly warranted where, as here, the challenges to the complaint are jurisdictional in nature.

  See Seaway Two Corp. v. Deutsche Lufthansa AG, No. 06-20993, 2006 WL 8433652, (S.D. Fla.,

  Nov. 11, 2006) (“because the Motion to Dismiss asserts that the Court has neither subject matter

  jurisdiction over the case nor personal jurisdiction over Lufthansa Consulting, it is possible that

  the Court lacks the authority to mandate that the parties engage in discovery. There is a significant

  possibility that the need for discovery may be entirely eliminated through the disposition of



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  Defendants' Motion to Dismiss and/or Motion to Stay Litigation and, therefore, the potential

  benefits of discovery at this juncture are small.”)3

           C.     Plaintiff Will Not Be Prejudiced by A Stay of Discovery

           Plaintiff will not be prejudiced by a stay. Plaintiff was already able to obtain discovery

  from NeoLife during the TTAB proceeding that underlies its appeal to this Court in its first cause

  of action. If Plaintiff failed to obtain some sort of relevant discovery when it had the chance in the

  TTAB proceeding, any additional time before a second bite at the apple should not result in any

  material prejudice. On the other hand, mandating that NeoLife engage in discovery when, as

  NeoLife contends, this Court lacks personal jurisdiction over it would be unjust and a waste of

  NeoLife’s resources.



                             Local Rule 7.1(a)(3) Certificate of Counsel

           Counsel for Defendant NeoLife certifies that it has conferred with counsel for Plaintiff,

  who advised that Plaintiff opposes the requested relief.




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    Notably, there would be no purpose to jurisdictional discovery in connection with NeoLife’s
  motion to dismiss. There is nothing to discover with respect to personal jurisdiction in connection
  with count one, Plaintiff’s appeal of the adverse TTAB ruling against its trademark. In addition,
  by virtue of the fact that Plaintiff’s declaratory judgment action must be supported by a reasonable
  apprehension on Plaintiff’s part of being sued by NeoLife for infringement, Plaintiff needs to
  already be aware of the facts that could support jurisdiction in order to have a viable claim.
  Anything known only to NeoLife (and thus obtainable only via discovery) could not support the
  basis for jurisdiction in connection with a declaratory judgment claim for noninfringement.

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                                             Conclusion

           For the foregoing reasons, Defendant NeoLife respectfully requests the Court to confirm

  that the obligation to confer on the joint scheduling report has not yet been triggered and to order

  that all discovery obligations be stayed pending resolution of NeoLife’s soon-to-be-filed motion

  to dismiss the amended complaint.

  Date: September 12, 2019.                     Respectfully submitted,

                                                __/s/ David Brafman___________
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